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        In Defendants’ reply brief, they raised for the first time the question of concerted action.
On the Section 1 tying claim, the concerted-action requirement is satisfied by the contract that
conditions artists’ access to Live Nation amphitheaters on their purchase of promotional services
from Live Nation. Compl. ¶ 41; see Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S.
451, 461 (1992); Viamedia, Inc. v. Comcast Corp., 951 F.3d 429, 473 (7th Cir. 2020) (“A sale on
the announced or implied condition that the buyer purchase the tied goods from the seller
ordinarily satisfies the tying-agreement requirement.”) (citing Areeda & Hovenkamp ¶ 1754 b-c,
at 315-20); Systemcare, Inc. v. Wang Lab’ys Corp., 117 F.3d 1137, 1142-43 (10th Cir. 1997) (en
banc) (“[A] contract between a buyer and seller satisfies the concerted action element of section
1 of the Sherman Act where the seller coerces a buyer’s acquiescence in a tying arrangement
imposed by the seller.”); cf. Epic Games v. Apple, Inc., 67 F. 4th 946, 982 (9th Cir. 2023) (even a
“non-negotiated contract of adhesion” is concerted action under Section 1).
           2. Viamedia Is Directly Analogous to the Facts Here.
        Viamedia shows that tying is a distinct claim from a unilateral refusal to deal with a rival.
Plaintiffs in Viamedia alleged both an illegal refusal-to-deal (with its rival in the ad rep market,
Viamedia) and a tying arrangement (tying sales to MVPDs of Comcast’s Interconnects with its
ad rep services) under Section 2. Viamedia, 951 F.3d at 462, 474. The refusal-to-deal claim was
based on Comcast’s denial of Interconnect access to ad-rep rival Viamedia, and the tying claim
was based on Comcast conditioning sales to MVPDs of Interconnect services on their use of
Comcast’s ad rep services. Id. at 453; see id. at 453-474. The court recognized that “[s]maller
MVPDs . . . must work with an ad rep to interface with the Interconnects.” Id. at 470-71.
Notably, while recognizing that “the categories of conduct here are conceptually related and may
overlap,” id. at 453, the court did not apply the refusal-to-deal framework to the Section 2 tying
claim. Id. at 466-474.
        At the January 22 hearing, Your Honor, referencing Viamedia, asked what “Live Nation
is doing” that is “separate” from its purported refusal to “rent these venues to rival promoters,”
Tr. at 12:19–25. The facts about tying in Viamedia are directly analogous to the allegations here.
        First, the tying conduct here, as with the tying claim in Viamedia, is an interrelated “two-
front strategy,” 951 F.3d at 466, that is two sides of the same coin. Id. at 470 (“The entire
purpose of [Comcast’s] refusal to deal with Viamedia . . . was to force RCN and WOW! to
become full-turnkey clients for ad rep services,” and this forced sale of ad rep services was the
“practical effect of banning from the Interconnects MVPDs that received ad rep services from
Viamedia.”). The court described “Comcast’s . . . tying of Interconnect services to ad rep
services” as being “implemented by refusing to deal with” Viamedia. Id. at 472. The refusal was
the tying mechanism because, “[a]s a practical matter, [MVPDs] cannot self-provide ad rep
services and must work with an ad rep to interface with the Interconnects.” Id. at 471. Here,
Plaintiffs similarly allege that Live Nation, as amphitheater owner, declines to contract with non-
Live Nation promoters for the purpose of forcing artists “into its not-so-tender arms,” id. at 474,
which “[a]s a practical matter,” id. at 471, leaves artists no choice but to hire Live Nation as their
promoter. See Compl. ¶¶ 241-248.
        Second, Plaintiffs also allege a “second anticompetitive act” directed toward artists.
Namely, the Complaint alleges a “longstanding” Live Nation policy that “if an artist wants to use
a Live Nation venue as part of a tour, he or she almost always must contract with Live Nation as
the tour’s concert promoter.” Compl. ¶ 113. This is virtually identical in substance to Comcast’s
policy that “if an MVPD wants to get access to a Comcast [Spotlight] controlled Interconnect, it
has to hire Comcast [Spotlight] as its ad sales representative.” Viamedia, 951 F.3d at 470.


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           3. Live Nation’s Unremitting Conditional Sale Policy Is Sufficient.
        Contrary to Defendants’ argument that Plaintiffs must allege a specific instance in which
an artist directly attempted to rent an amphitheater from Live Nation and was rebuffed, Second
Circuit law makes clear that Live Nation’s long-standing, unremitting, and well-known policy is
sufficient to establish coercion. Hill v. A-T-O, Inc., 535 F.2d 1349, 1355 (2d Cir. 1976) (“[a]n
unremitting policy of tie-in, if accompanied by sufficient market power in the tying product to
appreciably restrain competition in the market for the tied product constitutes the requisite
coercion”); Park v. Thomson Corp., 2007 WL 119461 at *4 (S.D.N.Y. Jan. 11, 2007) (“[w]hen a
policy of conditioned sales is demonstrated, proof of coercion on an individual basis is
unnecessary” (discussing Hill)). There is no requirement that a plaintiff demonstrate coercion on
an individual basis or any anticompetitive conduct apart from the unremitting policy described in
the Complaint. See Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of
Antitrust Principles and Their Application ¶ 1754b (“The announced condition is thus the legal
alternative for the express and unambiguous tying contract . . . That is all that is meant by
‘coercion,’ for the Supreme Court has made clear that the necessary condition is the key.”).
           4. Trinko Does Not Apply to Section 1 of the Sherman Act.
        The Supreme Court has rejected the application of unilateral refusal-to-deal-with-rivals
doctrine to Section 1 claims. See Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451,
463 n.8 (1992). Lower courts have followed suit. See Pls.’ Jan. 2025 Ltr., ECF 398. Defendants’
sole support for this proposition is Sambreel Holdings LLC v. Facebook, Inc., 906 F. Supp. 2d
1070, 1080 (S.D. Cal. 2012)), which misapplied the law (see Ex. D, Antitrust Division SOI at 2-
3), and was found to be “not persuasive” by another court in the same district. See Dream Big
Media Inc. v. Alphabet Inc., 2024 WL 3416509, at *2, n.2 (N.D. Cal. July 15, 2024).
        Trinko itself distinguishes Section 1 concerted actions from unilateral conduct under
Section 2, noting that concerted action “presents greater anticompetitive concerns.” Verizon
Commc'ns Inc. v. L. Offs. of Curtis V. Trinko, LLP, 540 U.S. 398, 410 n.3 (2004). See also Am.
Needle, Inc. v. Nat’l Football League, 560 U.S. 183, 190-91 (2010) (concerted activity “deprives
the marketplace of independent centers of decisionmaking that competition assumes and
demands,” and because concerted action is “discrete and distinct, a limit on such activity leaves
untouched a vast amount of business conduct,” there is “less risk of deterring a firm’s necessary
conduct” and “such conduct may be remedied simply through prohibition”). 2
    C. Available Remedies Show that Plaintiffs Do Not Allege a Unilateral Refusal to Deal
        The array of remedies available to Plaintiffs if they prevail on their tying claim also
demonstrates that this claim is not a refusal to deal. In addition to the remedies described by
Plaintiffs’ counsel at the January 22 conference (Tr. at 10-12), the Court could prohibit
Defendants from conditioning access to their amphitheaters on artists contracting with Live
Nation for promotional services. Artists could work directly with venues, and separately with the
promoter of their choosing, to put on a concert in a Live Nation amphitheater. This is not an

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  Even assuming the refusal-to-deal doctrine applied to this Section 1 claim, even unilateral
refusals to deal are not per se lawful. See, e.g., Aspen Skiing Co. v. Aspen Highlands Skiing
Corp., 472 U.S. 585, 601 (1985); Trinko, 540 U.S. at 410 (approvingly citing Otter Tail Power
Co. v. United States, 410 U.S. 366 (1973)). Cf. Duke Energy Carolinas, LLC v. NTE Carolinas
II, LLC, 111 F.4th 337, 354 (4th Cir. 2024).


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abstract remedy to an abstract harm: while promoters frequently reach out to venues on artists’
behalf, artists already work directly with venues with respect to staging and lighting, and some
artists use their agents to communicate with venues about available dates. See Compl. ¶¶ 26,
207-208; Ex. B, at 53:18–54:3. The fact that artists may be limited in their ability to self-promote
their concerts, see Compl. ¶ 202, does not implicate their ability to separately work with venues
and promoters. In the future, with such a remedy in place, artists (or their agent/manager
representatives) might become the usual points of contact in negotiating amphitheater access.
    D. Plaintiffs Should Be Permitted Leave to Amend the Complaint, as Necessary
        While Plaintiffs believe they have sufficiently alleged a tying claim, should this Court
dismiss that claim Plaintiffs request leave to amend. Discovery is far from complete, and
additional evidence of the sort the Court has inquired about—artists’ knowledge of Live Nation’s
policy and additional exclusionary conduct—can be developed through discovery. And because
there is substantial factual overlap between this claim and Plaintiffs’ amphitheater and
promotions monopolization claims, Defendants would not be prejudiced by any amendment.
    II.      The Court Should Deny the Motion to Dismiss the State Plaintiffs’ Federal
             Damages Claims
        State Plaintiffs rest on their prior briefing and arguments of counsel, except to address the
case law that Defendants identified for the first time in their January 21 letter. These cases do not
undermine Plaintiffs’ theory. At argument, Defendants invoked Bakay v. Apple Inc., 2024 WL
3381034 (N.D. Cal. July 11, 2024), where plaintiffs lacked standing in part because the causal
chain required multiple links to connect Apple’s dealings with browser and engine developers to
the increased cost of iPhones. See also Feitelson v. Google Inc., 80 F. Supp. 3d 1019, 1027-28
(N.D. Cal. 2015) (multiple levels of distribution and plaintiffs failed to connect browser
exclusivity to loss of innovation or supracompetitive prices for phones). Here, the chain of
causation to consumer harm is but a single link. Defendants pay venues to limit consumers to
only one ticketing option: Ticketmaster. The “site of Plaintiffs’ injury” is the primary ticketing
market. Bakay, 2024 WL 3381034, at *7.
        Hogan v. Amazon.com, Inc., is similarly inapposite—simply put, in Hogan, plaintiffs did
not pay for the allegedly monopolized product: merchants’ purchases of logistics services. 2023
WL 3018866, at *2, *4–5 (W.D. Wash. Apr. 20, 2023); see also Nypl v. JPMorgan Chase & Co.,
2017 WL 1133446, at *5 (S.D.N.Y. Mar. 24, 2017) (plaintiffs claimed the end-user market was
“completely different” from the corrupted market); Palladino v. JPMorgan Chase & Co., 2024
WL 5248824, at *13–14 (E.D.N.Y. Dec. 30, 2024) (plaintiffs conceded that they were indirect
purchasers and their claims were premised on injuries to third parties). Here, the retailer imposes
a constraint, and even if it is characterized as “upstream,” it forces consumers to pay more for,
and enables retailers to profit more from, the retail product. 3

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  Whatever Defendants theorize about whether, absent that “upstream” constraint, some venues
would have tried and succeeded in charging consumers more than in the actual world, drawing
such inferences in Defendants’ favor continues to be inappropriate at this stage. See, e.g., Apple
Inc. v. Pepper, 587 U.S. 273, 284 (2019) (denying motion to dismiss while acknowledging: “If
the competitive commission rate were 10 percent rather than 30 percent but Apple could prove
that app developers in a 10 percent commission system would always set a higher price such that
consumers would pay the same retail price regardless of whether Apple’s commission was 10
percent or 30 percent, then the consumers’ damages would presumably be zero.”).


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